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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION
JOSEPH RUDY,

      Plaintiff,

v.                                      CASE NO.: 8:21-cv-01685-VMC-TGW

FIRST NATIONAL COLLECTION
BUREAU, INC.,

     Defendant.
_________________________________________/

                    NOTICE OF PENDING SETTLEMENT

      Plaintiff, Joseph Rudy, by and through undersigned counsel, hereby files this

Notice of Pending Settlement. By submission of this Notice, submitting counsel

represents that this matter has settled in principle subject to final documentation and

respectfully requests that any scheduled hearings be removed from the Court’s

calendar.




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Dated: September 29, 2021                     Respectfully Submitted,

                                          SHRADER LAW, PLLC
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                                          Tampa, Florida 33606
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                                              /s/ Brian L. Shrader _______________
                                              BRIAN L. SHRADER, ESQ.
                                              Florida Bar No. 57251
                                              e-mail: bshrader@shraderlawfirm.com
                                              Counsel for Plaintiff

                           CERTIFICATE OF SERVICE

       I hereby certify that on September 29, 2021, a true and correct copy of the

forgoing was filed with the Clerk of Court for the Middle District of Florida through

the CM/ECF system that will give notice to all parties of record.

                                           /s/ Brian L. Shrader
                                           Attorney




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